         Case 2:22-cv-00360-DHU-GJF                    Document 226   Filed 04/29/24   Page 1 of 3




                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO



    RUBEN ESCANO,

            Plaintiff,

    v.
                                                               Case No. 2:22-cv-00360-DHU-GJF
    RCI, LLC, et al.,

            Defendants.



           PLAINTIFF’S REPLY IN FURTHER SUPPORT OF MOTION TO TAKE
          REMOTE TESTIMONY OF INTERVENOR RYAN MORETTINI AT TRIAL

           Plaintiff Ruben Escano, undersigned, hereby respectfully submits his reply in further

support of his Motion to Take Remote Testimony of Intervenor Ryan Morettini at Trial, filed April

8, 2024 as Document 217 (the “Motion”). This reply is to Defendant RCI, LLC’s (“RCI”)

Opposition to Plaintiff’s Motion to Take Remote Testimony of Intervenor Ryan Morettini at Trial,

filed April 15, 2024 as Document 221 (the “Opposition” or “Opp.”). For the reasons set forth

below, the Motion should be granted.

           Now, with trial approaching, RCI seeks to limit the evidence introduced at trial by

strategically leaving at home a key witness whose testimony it does not want the Court to hear,

and whose documents it does not want the Court to see. The Court should not condone a strategy

that will deny the Court an opportunity to fairly assess credibility and rule on a complete record.

           The Opposition argues that “Rule 45 constrains the power of this Court to compel

Morettini[1] to testify, whether in person or remotely[.]” (Opp. at 2) (emphasis in original). In



1
    “Morettini” refers to Intervenor Ryan Morettini.
    Case 2:22-cv-00360-DHU-GJF              Document 226         Filed 04/29/24       Page 2 of 3




support, the Opposition cites several cases from outside of this District. However, RCI knows that

such an interpretation of the rules is not the law in this District or the Tenth Circuit. Indeed,

Kirkland (one of the cases cited in the Opposition), notes that there is a “split among district courts”

on the issue. In re Kirkland, 75 F.4th 1030, 1038 (9th Cir. 2023).

       Courts throughout the Country have reached different conclusions than the Opposition and

found that Rule 43(a) permits courts to compel remote testimony of a witness outside the physical

geographic range of Rule 45. See Kahn v. Sanofi U.S. Servs., Inc., No. 21-mc-01919, ECF No. 14,

at *10–11 (E.D. La. Nov. 3, 2021) (finding that if a witness is permitted to testify from “a location

within 100 miles of his residence . . . the geographical limits of Rule 45(c) are satisfied”); see also

United States v. $110,000 in U.S. Currency, No. 21 C 981, 2021 WL 2376019, at *3 (N.D. Ill.

June 10, 2021); In re Xarelto (Rivaroxaban) Prods. Liab. Litig., MDL No. 2592, 2017 WL

2311719, at *4 (E.D. La. May 26, 2017); In re: 3M Combat Arms Earplug Prods. Liab. Litig., No.

3:19-md-2885, 2021 WL 2605957, at *3–4 (N.D. Fla. May 28, 2021); In re DePuy Orthopaedics,

Inc. Pinnacle Hip Implant Prods. Liab. Litig., MDL Docket No. 3:11- MD-2244-K, 2016 WL

9776572, at *1–2 (N.D. Tex. Sept. 20, 2016).

       Moreover, perhaps most importantly, the district court that even under the Opposition’s

argument would have authority to compel Morettini to testify, has rejected the Opposition’s

argument. See Blue Cross v. Davita Inc., No. 3:19-CV-574-BJD-MCR, 2022 U.S. Dist. LEXIS

237003, at *2–4, 9–11 (M.D. Fla. May 27, 2022) (analyzing Rule 43 alongside Rule 45, and

allowing plaintiffs to compel two witnesses to testify remotely for trial in Florida).

       Based on RCI’s privilege log (inappropriately produced weeks after the close of discovery),

Morettini was integral in preparing RCI’s responses to Plaintiff’s discovery requests, and

Plaintiff’s questioning would not consist of privileged topics. For example, Morettini’s testimony




                                                   2
    Case 2:22-cv-00360-DHU-GJF            Document 226      Filed 04/29/24      Page 3 of 3




would include authentication of documents, and naming RCI employees who provided information

for RCI’s discovery responses. District courts have the authority to ensure the factfinder “is

provided with the best and most complete basis to evaluate evidence and witness credibility.” In

re Washington Pub. Power Supply Sys. Sec. Litig., MDL No. 551, 1988 WL 525314 (W.D. Wash.

Aug. 9, 1988) (internal quotation omitted).

        WHEREFORE, Plaintiff respectfully requests leave to take testimony of Morettini

remotely, at trial.



        Dated this 29th day of April, 2024.

                                                    Respectfully submitted,



                                                        /s/ Ruben J. Escano
                                                    Ruben J. Escano, pro se
                                                    2311 Ranch Club Road
                                                    Suite #2-180
                                                    Silver City, NM 88061
                                                    rubenescano@gmail.com
                                                    (201) 527-8938




IT IS HEREBY CERTIFIED that on this 29th day of April, 2024, the foregoing was filed
electronically through the CM/ECF system, causing all parties or counsel of record to be served
by electronic means, as more fully reflected in the Notice of Electronic Filing.


 By: /s/ Ruben J. Escano
     Ruben J. Escano, pro se




                                               3
